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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BRITTANI DANETTE ATKINS,                           )
                                                   )
                        Plaintiff,                 )   Case No.: 1:21-cv-02408
                                                   )
                 v.                                )   Honorable Robert M. Dow, Jr.
                                                   )
HEALTHCARE REVENUE RECOVERY                        )   Magistrate Judge Young B. Kim
GROUP, L.L.C.,                                     )
                                                   )
                         Defendant.                )


JOINT STATUS REPORT AND REQUEST FOR EXTENSION OF CASE MANAGEMENT
                            DEADLINES

       Pursuant to this Court’s July 12, 2021 Order, the parties hereby submit the following Joint

Status Report:

       1.        Now comes the parties, by and through Counsel and pursuant to the Court’s July 12,

2021 Order submit this Status Report. [Doc. 15]

       2.        Plaintiff filed her Complaint on May 5, 2021. [Doc. 1].

       3.        Defendant filed its Answer on July 7, 2021. [Doc. 13].

       4.        The Court entered a Scheduling Order on July 12, 2021, providing, an updated joint

status report is due no later than 10/1/2021, fact discovery to be completed by 10/1/2021, expert

discovery to be completed by 11/1/2021, and dispositive motions due by 12/1/2021. [Doc. 15].

       5.        HRRG provided Plaintiff’s counsel with its written discovery responses and

objections.

       6.        On September 14, 2021, Plaintiff’s counsel filed a motion to compel. [Doc. 20].

       7.        On September 16, 2021, the Honorable Young B. Kim denied Plaintiff's motion to

compel without prejudice. [Doc. 23].
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       8.      On September 16, 2021, Plaintiff was ordered to refile her motion to compel by

September 24, 2021, and detail the specific discovery responses that she seeks to have Defendant

supplement and her argument why Defendant's responses are insufficient and/or objections should

be overruled. [Doc. 23].

       9.      Plaintiff was ordered to also attach the relevant discovery responses to the motion so

that the court is informed of discovery requests and the responses that are in dispute. [Doc. 23].

       10.     Defendant is ordered to respond to the motion by October 8, 2021. [Doc. 23].

       11.     With Ms. Atkins’ motion to compel pending and Ms. Atkins’ discovery responses

due to HRRG on October 15, 2021, the parties respectfully request and to obtain an extension of

their upcoming case management deadlines.

       12.     The parties request the deadlines in [Doc. 15] be extended as follows: fact discovery

to be completed by 1/1/2021, expert discovery to be completed by 1/1/2021, and dispositive

motions due by 2/1/2021.

       13.     Counsel for Defendant has requested available dates for Plaintiff’s deposition in

December.

       14.     Counsel for Plaintiff is currently working to obtain available dates for Defendant to

take Plaintiff’s deposition.




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Respectfully submitted,




 By: /s/ Paul Camarena (with consent)   By: /s/ Paul Gamboa
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